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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

FRANKLIN DAVIS,                         §
                                        §
        Petitioner,                     §
                                        §
v.                                      §   No. 3:21-CV-02333
                                        §
BOBBY LUMPKIN, Director,                §   DEATH PENALTY CASE
Texas Department of Criminal Justice,   §
Correctional Institutions Division,     §
                                        §
        Respondent.                     §


                                     ORDER
      This Court, having considered Petitioner’s Motion for Appointment of Counsel,
GRANTS said motion. Attorneys David Voisin, Katherine Black, and Stephen Green
are appointed to represent Mr. Davis under 18 U.S.C. § 3599.



        It is so ORDERED.



November 3, 2021
Date                                        United States Magistrate Judge
